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         6
               Attorneys for Plaintiffs
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         9                                UNITED STATES DISTRICT COURT
      10                              NORTHERN DISTRICT OF CALIFORNIA
      11

      12         DIANE DAKIN, DEBORAH DESPAIN               Case No.: 3:21-cv-06085-JCS
                 and MARILYN CURREN, individually,
      13         and on behalf of all others similarly      NOTICE OF VOLUNTARY
                 situated,                                  DISMISSAL PURSUANT TO
      14                                                    F.R.C.P. 41(a)(1)(A)(i)
      15
                                Plaintiffs,
      16
                 vs.
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                 HORMEL FOODS SALES, LLC, and
      18         HORMEL FOODS, LLC,
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      20                        Defendants.

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               NOTICE OF VOLUNTARY DISMISSAL
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         1            PLEASE TAKE NOTICE that Plaintiffs DIANE DAKIN, DEBORAH DESPAIN and
         2     MARILYN CURREN (collectively “Plaintiffs”), pursuant to Rule 41(a)(1)(A)(i) of the Federal
         3     Rules of Civil Procedure, hereby give notice and voluntarily dismiss without prejudice their
         4     claims in the above-captioned action against Defendants HORMEL FOODS SALES, LLC, and

         5     HORMEL FOODS, LLC, (collectively “Defendants”). Plaintiffs have not previously dismissed

         6     any state or federal court action based on or including the same claims against the Defendants.

         7     Defendants have not filed an answer or motion for summary judgment.

         8     DATED: November 17, 2021                     GREEN & NOBLIN, P.C.

         9
                                                            By:     /s/ Robert S. Green
      10
                                                                    Robert S. Green
      11
                                                            James Robert Noblin
      12                                                    Emrah M. Sumer
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      16                                                    Attorneys for Plaintiffs
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               NOTICE OF VOLUNTARY DISMISSAL
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